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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  JENNER & BLOCK LLP,

          Plaintiff,
             v.                                            Civil Action No. 25-916 (JDB)
  U.S. DEPARTMENT OF JUSTICE, et al.,

          Defendants.



                                            ORDER

        Upon consideration of [19] Jenner & Block’s motion for summary judgment, [20] the

defendants’ motion to dismiss, and the entire record herein, and for the reasons set forth in the

memorandum opinion issued on this date, it is hereby

        ORDERED that [19] Jenner’s motion for summary judgment is GRANTED; it is further

        ORDERED that [20] the defendants’ motion to dismiss is DENIED; it is further

        DECLARED that Executive Order 14246, Addressing Risks from Jenner & Block, 90 Fed.

Reg. 13997 (Mar. 28, 2025), is unlawful because it violates the First Amendment to the United

States Constitution; it is further

        DECLARED that Executive Order 14246 is therefore null and void; it is further

        ORDERED that:

    (1) the defendants are permanently ENJOINED from implementing or enforcing Sections 2–

        5 of Executive Order 14246 in any way;

    (2) the defendants are DIRECTED to rescind all formal or informal guidance or other

        direction provided to officers, staff, employees, or contractors of the federal government

        to communicate, effectuate, implement, or enforce Executive Order 14246;


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(3) the defendants are DIRECTED immediately to notify all officers, staff, employees, and

   contractors subject to Executive Order 14246 that Executive Order 14246 is unlawful, null,

   and void, and that Executive Order 14246 therefore should be disregarded, including all

   prior formal or informal advice, opinions, or direction previously received or

   communicated to effectuate, implement, or enforce Executive Order 14246, and that all

   departments, agencies, officers, staff, employees, and contractors of the federal

   government should carry on with their ordinary course of business with Jenner & Block

   LLP, its personnel, its clients, and its clients’ personnel known or believed by them to be

   associated with Jenner & Block LLP, as if Executive Order 14246 had not issued;

(4) the defendants are DIRECTED immediately to (a) communicate to every recipient of a

   formal or informal request for disclosure of any relationship with Jenner & Block LLP or

   any person associated with Jenner & Block LLP made pursuant to Section 3(a) of Executive

   Order 14246 that such request is permanently rescinded; and (b) cease making such

   requests for disclosure pursuant to Section 3(a) of Executive Order 14246;

(5) the defendants are DIRECTED to cease any security clearance review made pursuant to

   Sections 1 or 2(a) of Executive Order 14246 and to reverse any suspension or revocation

   of any active security clearances made pursuant to Sections 1 or 2(a) of Executive Order

   14246;

(6) the defendants are ORDERED that they must, in good faith, take such other steps as are

   necessary to prevent the implementation of Executive Order 14246 and to reverse any

   implementation or enforcement of Executive Order 14246 that has occurred or is occurring;

(7) defendants Office of Management and Budget (“OMB”) and Russell Vought, in his official

   capacity as director of OMB, are DIRECTED to identify all government goods, property,



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   material, and services provided for the benefit of Jenner & Block LLP that were previously

   identified pursuant to Section 2(b) of Executive Order 14246 and to immediately issue

   direction to the relevant heads of agencies that they are to reverse any cessation of the

   provision of such material or services made pursuant to Executive Order 14246;

(8) defendants U.S. Department of Justice; Pamela Bondi, in her official capacity as U.S.

   Attorney General; Equal Employment Opportunity Commission (“EEOC”); and Andrea R.

   Lucas, in her official capacity as Acting Chair of the EEOC, are DIRECTED immediately

   to cease any investigation of Jenner & Block LLP made pursuant to Section 4 of Executive

   Order 14246, and to withdraw any requests for information from Jenner & Block LLP or

   other investigative steps made pursuant to Section 4 of Executive Order 14246;

(9) defendants U.S. Department of Justice; Pamela Bondi, in her official capacity as U.S.

   Attorney General; OMB; and Russell Vought, in his official capacity as Director of OMB,

   are DIRECTED immediately to issue direction, which shall include a copy of this Order,

   to all defendants and all departments, agencies, and other entities subject to Executive

   Order 14246, including their respective officers, staff, employees, and contractors, to:

       a. rescind any implementation or enforcement of Executive Order 14246, including

          any use, consideration, or reliance on the statements in Section 1 of Executive Order

          14246;

       b. rescind all formal or informal guidance or other direction provided to officers, staff,

          employees, or contractors to communicate, effectuate, implement, or enforce

          Executive Order 14246 in whole or in part;

       c. disregard Executive Order 14246 in its entirety in their dealings with Jenner &

          Block LLP, Jenner & Block LLP personnel, and clients known or believed by them



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               to be associated with Jenner & Block LLP, and carry on with their ordinary course

               of business as if Executive Order 14246 had not issued;

           d. immediately communicate to every recipient of a formal or informal request for

               disclosure of any relationship with Jenner & Block LLP or any person associated

               with the firm made pursuant to Executive Order 14246 that such request is

               permanently rescinded, and cease making such requests for disclosure pursuant to

               Executive Order 14246;

           e. cease any security clearance review made or initiated pursuant to Sections 1 or 2(a)

               of Executive Order 14246 and reverse any suspension or revocation of any active

               security clearances made pursuant to Sections 1 or 2(a) of Executive Order 14246;

           f. act in good faith to take such other steps as are necessary to prevent the

               implementation or enforcement of Executive Order 14246 and to reverse any

               implementation or enforcement of Executive Order 14246 that has occurred or is

               occurring;

           g. comply with all forms of relief in this Order; and

           h. be advised that all defendants and all departments, agencies, and other entities

               subject to Executive Order 14246, including their respective officers, staff,

               employees and contractors, are bound by the Court’s Order, under penalty of

               contempt.

For the avoidance of doubt, the recipients of the foregoing direction shall include, but not be

limited to (i) defendants; (ii) the departments, agencies, and other entities listed in Appendix A

hereto, including the responsible officials and their successors at each entity, also listed in

Appendix A; (iii) any other departments, agencies, and entities that received Executive Order



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14246 or guidance related to Executive Order 14246; and (iv) any officers, staff, employees, and

contractors of any of the foregoing who were provided with Executive Order 14246 or guidance

related to Executive Order 14246; and it is further

       ORDERED that the defendants shall file a status report within three business days of this

Order describing the steps taken to ensure compliance with this Order and certifying compliance

with its requirements; and it is further

       ORDERED that this Order shall remain in effect until further order of this Court.

       IT IS SO ORDERED.



                                                                        /s/
                                                                 JOHN D. BATES
                                                             United States District Judge
Dated: May 23, 2025




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